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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

UNITED STATES OF AMERICA

vs.                                           Case No. 2:04-cr-3-FTM-29DNF

JONATHAN VANCE


                               OPINION AND ORDER
      This matter is before the Court on defendant Jonathan Vance’s
pro se Motion to Modify the Term of Imprisonment Pursuant to 18
U.S.C.   §   3582(c)(2)      (Doc.    #109)   filed   on   December   12,   2008.
Defendant seeks a reduction in his sentence in light of Amendment
706 to the United States Sentencing Guidelines, which reduces the
base offense level for cocaine base offenses by two levels.
                                        I.
      Title 18      U.S.C. § 3582(c) gives the court discretionary
authority    to    reduce    the     term    of   imprisonment   portion    of   a
defendant’s       sentence    under    certain      circumstances.      Section
3582(c)(2) provides in pertinent part:
      (c) The court may not modify a term of imprisonment once
      it has been imposed except that -
      . . .
      (2) in the case of a defendant who has been sentenced to
      a term of imprisonment based on a sentencing range that
      has subsequently been lowered by the Sentencing
      Commission pursuant to 28 U.S.C. 994(o), upon motion of
      the defendant or the Director of the Bureau of Prisons,
      or on its own motion, the court may reduce the term of
      imprisonment, after considering the factors set forth in
      section 3553(a) to the extent that they are applicable,
      if such a reduction is consistent with applicable policy
      statements issued by the Sentencing Commission.

18 U.S.C. § 3582(c)(2).            The relevant United States Sentencing
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Guidelines (U.S.S.G.) policy statement is U.S.S.G. § 1B1.10, as

amended by Amendment 713 and effective March 3, 2008.

        Reading 18 U.S.C. § 3582(c)(2) in conjunction with U.S.S.G. §

1B1.10(a)(1), the general requirements a defendant must establish

to be eligible for a reduction of the term of imprisonment are: (1)

Defendant had been sentenced to a term of imprisonment; (2) the

term of imprisonment was based on a sentencing range that has

subsequently been lowered by the Sentencing Commission pursuant to

28 U.S.C. § 994(o); (3) defendant is still serving the term of

imprisonment; and (4) the amendment to the Sentencing Guidelines

has been made retroactive by being listed in U.S.S.G. § 1B1.10(c)1.

Even    if   generally     eligible      for     a   reduction       in    the   term    of

imprisonment, a defendant must show that a reduction is consistent

with the policy statement in U.S.S.G. § 1B1.10.                      A reduction of a

term    of   imprisonment       is    not    consistent       with    the    Sentencing

Guidelines policy statement, and therefore is not authorized by §

3582(c)(2), if none of the retroactive amendments is applicable to

defendant,     U.S.S.G.     §   1B1.10(a)(2)(A),         or    if    the    retroactive

amendment     does   not    have      the    effect    of     lowering      defendant’s

applicable guideline range. U.S.S.G. § 1B1.10(a)(2)(B). Defendant

Vance    satisfies   all    of       these   eligibility       requirements        and    a

reduction in the term of imprisonment would be consistent with the

Sentencing Guidelines policy statement.


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       United States v. Armstrong, 347 F.3d 905, 909 (11th Cir. 2003).

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      While defendant is eligible for a reduction in the term of

imprisonment and such a reduction is not excluded by the Sentencing

Guidelines policy statement, the court must make two distinct

determinations before deciding whether and to what extent to reduce

a defendant’s term of imprisonment under § 3582(c)(2).             First, the

court must recalculate the sentence under the amended guidelines.

The court is required to determine the amended guideline range that

would   have   been   applicable    to   defendant    if     the   applicable

retroactive amendment had been in effect at the time defendant was

sentenced. U.S.S.G. § 1B1.10(b)(1). In making this determination,

the court “shall substitute only” the retroactive amendment for the

corresponding     guideline    provisions    there    were    applied    when

defendant was sentenced, and “shall leave all other guideline

application decisions unaffected.”        U.S.S.G. § 1B1.10(b)(1).        The

Court uses that new base level to determine what ultimate sentence

it would have imposed.      United States v. Bravo, 203 F.3d 778, 780

(11th Cir. 2000); United States v. Vautier, 144 F.3d 756, 760 (11th

Cir. 1998), cert. denied, 525 U.S. 1113 (1999).

     The second step is to decide whether, in its discretion, the

court will elect to impose the newly calculated sentence under the

amended guidelines or retain the original sentence.                Bravo, 203

F.3d at 781.     In making this decision, the court considers the

factors listed in § 3553(a) to the extent consistent with the

Sentencing Guidelines policy statement.         Bravo, 203 F.3d at 781;

Vautier, 144 F.3d at 760.      The Court must also consider the nature

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and seriousness of the danger to any person or the community that

may be posed by a reduction in defendant’s term of imprisonment,

U.S.S.G. § 1B1.10 cmt. n.1(b)(ii), and may consider post-sentencing

conduct of defendant occurring after the imposition of the original

term of imprisonment, Application Note 1(b)(iii).                  While the two

steps are required, the court is not required to reduce defendant’s

sentence because that determination is discretionary. Vautier, 144

F.3d at 760; United States v. Cothran, 106 F.3d 1560, 1562 (11th

Cir. 1997); United States v. Vazquez, 53 F.3d 1216, 122728 (11th

Cir. 1995).

                                       II.

       At    the   original      sentence,    the    Court    determined       that

defendant’s Total Offense Level was 31, his Criminal                       History

Category was V, and the Sentencing Guidelines range was 168 to 210

months imprisonment.        The application of Amendment 706 results in

a Total Offense Level of 29, a Criminal History Category of V, and

a Sentencing Guidelines range of 140 to 175 months imprisonment.

The Court also granted a § 5K1.1 departure and a reduction under

Rule    35    motion,      and    sentenced    defendant      to     100    months

incarceration.       The    Court    concludes      that   this    departure   and

reduction should be deducted from the re-calculated Total Offense

Level after application of Amendment 706.             This results in a range

of 84 to 105 months imprisonment.             The Probation Office reports

that defendant has obtained his General Education Diploma, paid his



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special assessment, and not had nay disciplinary actions while

imprisoned.     Therefore, in the exercise of its discretion, the

Court will apply the Amendment 706 reduction to defendant, and will

impose a sentence at the low end of the newly calculated Sentencing

Guidelines range.

     Defendant    also    asserts     that    the   Court   should   take this

opportunity to further reduce the sentence pursuant to United

States v. Booker, 543 U.S. 220 (2005) and Kimbrough v. United

States, 128 S. Ct. 558 (2007).               The Court declines to do so.

Proceedings under § 3582(c) and § 1B1.10 “do not constitute a full

resentencing of the defendant,”         U.S.S.G. § 1B1.10(a)(3), or a de

novo resentencing.       United States v. Moreno, 421 F.3d 1217, 1220

(11th Cir. 2005), cert. denied, 547 U.S. 1050 (2006); United States

v. Bravo, 203 F.3d 778, 781 (11th Cir. 2000); Cothran, 106 F.3d at

1562.     The   Court    does   not    re-examine     the   other    sentencing

determinations made at the original sentencing.             Cothran, 106 F.3d

at 1562-63; Bravo, 203 F.3d at 781.             Additionally, the Eleventh

Circuit has already stated that “Booker is inapplicable to §

3582(c)(2) motions.”      Moreno, 421 F.3d at 1220; United States v.

Alebord, 256 Fed. Appx. 255 (11th Cir. 2007).

     Accordingly, it is now

     ORDERED AND ADJUDGED:

     1.    Defendant’s Motion to Modify the Term of Imprisonment

Pursuant to 18 U.S.C. § 3582(c)(2) (Doc. #109) is GRANTED as set


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forth below.

     2.     The Clerk of the Court shall enter an Amended Judgment

reducing    the sentence imposed to 84 months imprisonment, and

otherwise    leaving   all   other   components    of   the   sentence    as

originally imposed.       This order is subject to the prohibition

contained within U.S.S.G. § 1B1.10(b)(2)(c) which provides that

“[i]n no event may the reduced term of imprisonment be less than

the term of imprisonment the defendant has already served.”.

     DONE AND ORDERED at Fort Myers, Florida, this            9th    day of

January, 2009.




Copies:
AUSA Molloy
Jonathan Vance
U.S. Probation
U.S. Marshal




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